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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA, )
Vv. Criminal Action No. 23- ( | - UN Ab
ROBERT HUNTER BIDEN,
Defendant. ;
INFORMATION

The United States Attorney for the District of Delaware charges that:
COUNT ONE

On or about October 12, 2018, through on or about October 23, 2018, in the
District of Delaware, the defendant Robert Hunter Biden, knowing that he was an
unlawful user of and addicted to a controlled substance as defined in Title 21, United
States Code, Section 802, did knowingly possess a firearm, that is, a Colt Cobra 38SPL
revolver with serial number RA 551363, said firearm having been shipped and
transported in interstate commerce.

In violation of Title 18, United States Code, Sections 922(g)(3) and 924(a)(2)

(2018).

DAVID C. WEISS
FILED UNITED STATES ATTORNEY

Jun 20 2023 by: Les / hhn

Leo J. Wise»
GURT MSTRE™ CFE Vt APE Derek E. Hines
Special Assistant United States Attorneys

 

Benjamin L. Wallace
Assistant United States Attorney

Dated: June 20, 2023
